Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

Fill in this information to identify your case:

United States Bankruptcy Court for the:

Eastern District of New York |

Case number (if known): Chapter you are filing under:
CJ Chapter 7
| Chapter 11

[] Chapter 12 Oo teu:
Chapter 13 Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

are Identify Yourself

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name
Write the name that ison your aria
government-issued picture - erat
identification (for example, First name irst name
your driver's license or Y _
passport). Middie name Middle name

Cruz

Bring your picture
identification to your meeting —- Last name Last name
with the trustee.

 

Suffix (Sr., Jr. Wd, Ul} Suffix (Sr., Jr., Il, IN)

2. All other names you
have used in the last 8
years

Include your married or
maiden names.

3. Only the last 4 digits of
your Social Security
number or federal OR OR
Individual Taxpayer
Identification number 9x = x 9x - x -L

(ITIN)

xxx — xx — 9 1 6 3 XXX = XX —

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 1
 

Case 1-L9-4/2/9-Cec

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Doc l Filed Le/Osf/ly

About Debtor 1:

[vy]! have not used any business names or EINs.

entered L2aiQs/1y LO'40150

About Debtor 2 (Spouse Only in a Joint Case):

Ci have not used any business names or EINs.

 

Business name

 

Business name

 

Business name

 

Business name

 

EIN

 

EIN

9529 104 Street

 

EIN

 

EIN

If Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street

Ozone Park NY 11416

City State ZIP Code City State ZIP Code
Queens County

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

CJ | have another reason. Explain.

(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

[1 over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

O | have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2

 
Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

Part 2: Tell the Court About Your Bankruptcy Case

7.

8.

9.

The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

are choosing to file
under [I chapter 7
[]chapter 11

L Jchapter 12
[vy] chapter 13

How you will pay the fee [i wit pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

[_]I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

Ci request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

Have you filed for
bankruptcy within the [yho
last 8 years? LVes. District When Case number

District When Case number

 

District When Case number

10. Are any bankruptcy No

cases pending or being

filed bya spouse who is L_lyes.
not filing this case with

you, or by a business

 

 

 

 

 

partner, or by an Debtor Relationship to you
affiliate? District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your [7]No. Go toline 12.
residence? [__]Yes. Has your landlord obtained an eviction judgment against you?

[_Ino. Go to line 12.
T lyes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case 1-L9-4/2/9-Cec

Doc Ll Filedic/Os/ty centered L2/Usily Loi4oio0

Report About Any Businesses You Own as a Sole Proprietor

12.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

. Are you filing under

Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smaif

business debtor, see
11 U.S.C. § 101(51D),

Y] No. Go to Part 4.

Oo Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

State ZIP Code

City
Check the appropriate box to describe your business:
C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Cc Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
J stockbroker (as defined in 11 U.S.C. § 101(53A))
CO Commodity Broker (as defined in 11 U.S.C. § 101(6))
CI None of the above

If you are filing under Chapter 17, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

WI No. | am not filing under Chapter 11.

| No. | am filing under Chapter 11, but |am NOT a small business debtor according to the definition in
the Bankruptcy Code.

Lyes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14,

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

[V/No
L_lYes. What is the hazard?

If immediate attention is needed, why is it needed?

Where is the property?

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

aa Explain Your Efforts to Receive a Briefing About Credit Counseling

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

15. Tell the court whether
you have received a
briefing about credit
counseling.

You must check one: You must check one:

V1 | received a briefing from an approved credit C] | received a briefing from an approved credit

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
fallowing choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CT] | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C] | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cc] lam not required to receive a briefing about

credit counseling because of:

CT Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C] Disability. |My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

CT] Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] l received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C] ! certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

TC] lam not required to receive a briefing about

credit counseling because of:

CI Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

| Disability. |My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

CJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5
Case 1-L9-4/2/9-Cec

Ca Answer These Questions for Reporting Purposes

Doc Ll Filedic/Os/ty centered L2/Usily Loi4oio0

 

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

J No. Go to line 16b.
VW Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

O No. Go to line 16.
Oo Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

VI No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after CI Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

lime Sign Below

For you

Official Form 101

[| No
[] Yes

iY] 1-49
[| 50-99

| 100-199
| 200-999

[| $0-$50,000

[} $50,001-$100,000
$100,001-$500,000
[_] $500,001-$1 million

[| $0-$50,000

| $50,001-$100,000
| $100,001-$500,000
/] $500,001-$1 million

 

1,000-5,000
§,001-10,000
10,001-25,000

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

 

 

[] 25,001-50,000
|] 50,001-100,000
|] More than 100,000

[] $500,000,001-$1 billion

|] $1,000,000,001-$10 billion
|] $10,000,000,001-$50 billion
ml More than $50 billion

T] $500,000,001-$1 billion
[| $1,000,000,001-$10 billion
| $10,000,000,001-$50 billion

 

|] More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, CY. and 357.

x

ie Y Cruz

oS x

-

 

Signature of Debtor 1
12/03/2019

Executed on

Signature of Debtor 2

Executed on
MM / OD /YYYY

MM / DD /YYYY

Voluntary Petition for individuals Filing for Bankruptcy

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Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

For your attorney, if you are
represented by one

If you are not represented

by an attorney, you do not
need to file this page.

Official Form 101

i, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that { have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

X /s/ Charles Higgs Date 12/03/2019
Signature of Attorney for Debtor MM / DD /YYYY

 

Charles Higgs

 

Printed name

Law Office of Charles A. Higgs
Firm name
450 Lexington Avenue

Number Street

 

 

 

 

 

 

FL 4
New York NY 10017

City State ZIP Code

Contact phone (917)673-3768 Email address charles@freshstartesq.com
CH6180 NY

Bar number State

Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

Fill in this information to identify your case:

 

 

 

Marie Y Cruz
Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of New York

Case number

 

{If known)

 

Official Form 106D

 

[_]check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
(1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

[Z] Yes. Fill in all of the information below.

irae List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

Specialized Loan Servicing, LLC

 

Creditor’s Name
8742 Lucent Blvd

 

 

 

Number Street
Littleton CO 80129
City State ZIP Code

Who owes the debt? Check one.

ww Debtor 1 only

oO Debtor 2 only

(3) bebtor 1 and Debtor 2 only

(3) Atleast one of the debtors and another

CJ] Check if this claim relates to a
community debt
Date debt was incurred

[2.3]

 

Creditor's Name

 

Number Street

 

 

City State ZIP Code
Who owes the debt? Check one.

[J bebtor 4 only

oO Debtor 2 only

O Debtor 1 and Debtor 2 only

Oo At least one of the debtors and another

CJ] Check if this claim relates to a
community debt
Date debt was incurred

Describe the property that secures the claim:
5 Spruce Court, Hamilton, NJ 08610 - $225,000.00

As of the date you file, the claim is: Check all that apply.

CJ Contingent

C7 untiquidated

| Disputed

Nature of lien. Check all that apply.

oO An agreement you made (such as mortgage or secured
car loan)

| Statutory lien (such as tax lien, mechanic’s lien)

0 Judgment lien from a lawsuit

CD other (including a right to offset)

Last 4 digits of account number

Describe the property that secures the claim:

As of the date you file, the claim is: Check all that apply.

Cl Contingent

oa Unliquidated

O Disputed

Nature of lien. Check all that apply.

An agreement you made (such as mortgage or secured
car loan)

CO Statutory lien (such as tax lien, mechanic’s lien)

| Judgment lien from a lawsuit

© other (including a right to offset)
Last 4 digits of account number

Add the dollar value of your entries in Column A on this page. Write that number here:

Column A
Amount of claim
De not deduct the
value of collateral.

$_ 580,000.00

paeo.oon0a

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property

Column B Column C

Value of collateral Unsecured
that supports this _ portion
claim If any

$_ 225,000.00 $_355,000.00

page 1 of _1_
Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

Debtor 1 Marie Y Cruz Case number (if known),

First Name Middle Name Last Name
unm List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| On which line in Part 1 did you enter the creditor?
Last 4 digits of account number
Name
Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Last 4 digits of account number
Name
Street
City State zIP Cade
[| On which line in Part 1 did you enter the creditor?
Last 4 digits of account number
Name
Street
City State ZIP Code
[| On which line in Part 1 did you enter the creditor?
Last 4 digits of account number
Name
Street
City State ZIP Code
[| On which line in Part 1 did you enter the creditor?
Last 4 digits of account number
Name
Street
City State ZIP Code
L On which line in Part 1 did you enter the creditor?
Last 4 digits of account number
Name
Street
City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1_
Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

 

 

The types of bankruptcy that are
available to individuals

Individuals who meet the qualifications may file
under one of four different chapters of the
Bankruptcy Code:

Chapter 7 — Liquidation
m Chapter 11— Reorganization

Chapter 12—- Voluntary repayment plan
for family farmers or
fishermen

Chapter 13— Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Chapter 7: Liquidation

$245 filing fee

$75 administrative fee

+ $15 trustee surcharge
$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their
debts and who are willing to allow their non-
exempt property to be used to pay their
creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after
bankruptcy from having to pay many of your
pre-bankruptcy debts. Exceptions exist for
particular debts, and liens on property may still
be enforced after discharge. For example, a
creditor may have the right to foreclose a home
mortgage or repossess an automobile.

However, if the court finds that you have
committed certain kinds of improper conduct
described in the Bankruptcy Code, the court
may deny your discharge.

You should know that even if you file
chapter 7 and you receive a discharge, some
debts are not discharged under the law.
Therefore, you may still be responsible to pay:
@ most taxes;

most student loans;

m domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 1
Case 1-Ly-4/e2/fa-cec DOCLl Filedic/Os/ly centered L2/Qsily Loi4oioe0

m= most fines, penalties, forfeitures, and
criminal restitution obligations; and

certain debts that are not listed in your
bankruptcy papers.

You may also be required to pay debts arising
from:

e fraud or theft;

fraud or defalcation while acting in breach
of fiduciary capacity;

m intentional injuries that you inflicted; and

death or personal injury caused by
operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or
drugs.

If your debts are primarily consumer debts, the
court can dismiss your chapter 7 case if it finds
that you have enough income to repay
creditors a certain amount. You must file
Chapter 7 Statement of Your Current Monthly
Income (Offictal Form 122A—1) if you are an
individual filing for bankruptcy under

chapter 7. This form will determine your
current monthly income and compare whether
your income is more than the median income
that applies in your state.

If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means
Test Calculation (Official Form 122A—2).

If your income is above the median for your
state, you must file a second form —the
Chapter 7 Means Test Calculation (Official
Form 122A—2), The calculations on the form—
sometimes called the Means Test—deduct
from your income living expenses and
payments on certain debts to determine any
amount available to pay unsecured creditors. If

 

your income is more than the median income
for your state of residence and family size,
depending on the results of the Means Test, the
U.S. trustee, bankruptcy administrator, or
creditors can file a motion to dismiss your case
under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal,
you may choose to proceed under another
chapter of the Bankruptcy Code.

If you are an individual filing for chapter 7
bankruptcy, the trustee may sell your property
to pay your debts, subject to your right to
exempt the property or a portion of the
proceeds from the sale of the property, The
property, and the proceeds from property that
your bankruptcy trustee sells or liquidates that
you are entitled to, is called exempt property.
Exemptions may enable you to keep your
home, a car, clothing, and household items or
to receive some of the proceeds if the property
is sold.

Exemptions are not automatic. To exempt
property, you must list it on Schedule C: The
Property You Claim as Exempt (Official Form
106C). If you do not list the property, the
trustee may sell it and pay all of the proceeds
to your creditors.

Chapter 11: Reorganization

$1,167 _ filing fee
+ $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a
business, but is also available to individuals.
The provisions of chapter 11 are too
complicated to summarize briefly.

Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 2
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Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

Under chapter 13, you must file with the court
a plan to repay your creditors all or part of the
money that you.owe them, usually using your
future earnings. If the court approves your
plan, the court will allow you to repay your
debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits 5 years, depending on your income and other
family farmers and fishermen to repay their factors.

debts over a period of time using future
earnings and to discharge some debts that are
not paid.

Chapter 12: Repayment plan for family
farmers or fishermen
$200 filing fee

+ $75 administrative fee
$275 total fee

After you make all the payments under your
plan, many of your debts are discharged. The
debts that are not discharged and that you may
still be responsible to pay include:

Chapter 13: Repayment plan for = domestic support obligations,

individuals with regular = most student loans,
income = certain taxes,
debts for fraud or theft,

$235 filing fee
+ $75 _ administrative fee
$310 total fee

ew debts for fraud or defalcation while acting
in a fiduciary capacity,

™ most criminal fines and restitution

Chapter 13 is for individuals who have regular obligations,
income and would like to pay all or part of = certain debts that are not listed in your
their debts in installments over a period of time bankruptcy papers,

and to discharge some debts that are not paid.
You are eligible for chapter 13 only if your
debts are not more than certain dollar amounts
set forth in 11 U.S.C. § 109.

= certain debts for acts that caused death or
personal injury, and

® certain long-term secured debts.

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code
requires that you promptly file detailed information
about your creditors, assets, liabilities, income,
expenses and general financial condition. The
court may dismiss your bankruptcy case if you do
not file this information within the deadlines set by
the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

For more information about the documents and
their deadlines, go to:
http://www.uscourts.gov/pkforms/bankruptey_form

s.html#procedure.

 

 

Bankruptcy crimes have serious
consequences

a If you knowingly and fraudulently conceal
assets or make a false oath or statement
under penalty of perjury—either orally or
in writing—in connection with a
bankruptcy case, you may be fined,
imprisoned, or both.

m® All information you supply in connection
with a bankruptcy case is subject to
examination by the Attorney General acting
through the Office of the U.S. Trustee, the
Office of the U.S. Attorney, and other
offices and employees of the U.S.
Department of Justice.

Make sure the court has your
mailing address

The bankruptcy court sends notices to the
mailing address you list on Voluntary Petition
for Individuals Filing for Bankruptcy (Official
Form 101). To ensure that you receive
information about your case, Bankruptcy

Rule 4002 requires that you notify the court of
any changes in your address.

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint
case and each spouse lists the same mailing
address on the bankruptcy petition, the
bankruptcy court generally will mail you and
your spouse one copy of each notice, unless
you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you
could receive from credit
counseling agencies

The law generally requires that you receive a
credit counseling briefing from an approved
credit counseling agency. 11 U.S.C. § 109(h).
If you are filing a joint case, both spouses must
receive the briefing. With limited exceptions,
you must receive it within the 180 days before
you file your bankruptcy petition. This briefing
is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you
generally must complete a financial
management instructional course before you
can receive a discharge. If you are filing a joint
case, both spouses must complete the course.

You can obtain the list of agencies approved to
provide both the briefing and the instructional
course from: .
http-//justice.aov/ust/eo/hapcpa/ccde/cc_approved.html.

In Alabama and North Carolina, go to:
hittp://www.uscourts.qov/FederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit
AndDebtCounselors.aspx.

 

If you do not have access to a computer, the
clerk of the bankruptcy court may be able to
help you obtain the list.

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